H D 011 Request for Media Slogging
Amended 09/2015
                            Case 1:23-mj-01013-WRP Document 7 Filed 06/27/23 Page 1 of 1                      PageID.29




                                                      UNITED STATES DISTRICT COURT

                                                             DISTRICT OF HAW All

                                                          Request for Media Blogging

                        The undersigned requests that the court allow blogging during the proceeding(s) described
                        below. Requests must be emailed to the presiding judge's email address for orders. For matters
                        calendared at least 28 days in advance, requests must be received by the court 14 days prior to the
                        start of the proceeding. For matters calendared less than 28 days in advance, requests must be
                        made as soon as practicable.

                          Case Name:       Avery Garrard & Keina Drageset Case No.             1:23-mj-0101 3-W RP
                          Presiding District or Magistrate Judge:     JUDGE ROM TRADER
                          Media Outlet:           KITV4
                         Representative(s):  Aalii Dukelow
                                                 -------------------------
                         Email Address To Send Completed Request Form:_n_e_  w_s@
                                                                                ~ ki_tv_.c_o_m_ _ _ _ _ _ _ _ __
                        %Pennission being sought for the fo llowing hearing(s):


                                               Date         Time                 Hearing Type
                                           6/27/2023       1030a             Initial Appearance




                          DATED:       6/27/2023           SIGNATURE:             D ~ S~c;,-aw-a,
                                       - - - - - PRINTED NAME:                  Duane ShimogaJa - Assign.                       rv

                        IT IS SO ORDERED.

                      lxxlAPPROVED             □APPROVED AS MODIFIED               □DENIED

                          DATED:          June 27, 2023

                                                                                                Andrade
                                                                                               Rom AA. Trader
                                                                                               United States Magistrate Judge
